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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                    )       CRIMINAL NO.
                                             )
               v.                            )       VIOLATIONS: 18 U.S.C. § 371
                                             )       (Conspiracy to Commit Offenses)
DAVID SHAH,                                  )
          Defendant.                         )       18 U.S.C. § 981(a)(1)(C) &
                                             )       28 U.S.C. § 2461(c)
                                             )       (Criminal Forfeiture)

                                        INFORMATION

       The United States of America hereby charges that:

                                         COUNT ONE
                                          Conspiracy
                                        (18 U.S.C. §371)

                                         The Conspiracy

1.     From in or about April 2011 to in or about May 2012, in the District of Columbia and

elsewhere, the defendant, DAVID SHAH (“SHAH”), did knowingly conspire and agree with

others, known and unknown, to commit offenses against the United States, that is:

               a.     In a contract with the United States, where the amount of the contract was

$1,000,000 or more, to knowingly execute and attempt to execute a scheme and artifice with the

intent: (a) to defraud the United States; and (b) to obtain money and property by means of

materially false and fraudulent pretenses, representations, and promises, in violation of Title 18,

United States Code, Section 1031(a);

               b.     To devise and intend to devise a scheme and artifice to defraud the United

States and to obtain money and property by means of materially false and fraudulent pretenses,

representations, and promises, and cause to be transmitted certain wire communications in
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interstate and foreign commerce for the purposes of executing the scheme, in violation of Title 18,

United States Code, Section 1343.

                                    Object of the Conspiracy

2.     The object of the conspiracy was for SHAH and his co-conspirators to fraudulently earn

bonuses for themselves and their employer, Subcontractor #1, by providing false information

regarding prospective linguist candidates for the United States military, and to conceal the

conspiracy.

                             Manner and Means of the Conspiracy

3.     The manner and means by which SHAH and his co-conspirators sought to, and did, achieve

the purpose of the conspiracy included the following:

           a. SHAH and his co-conspirators would knowingly recruit linguist candidates who

did not meet the minimum language proficiency standards in Dari, Pashto, and/or English.

           b. In order to ensure that the unqualified linguist candidates could pass language tests,

SHAH and his co-conspirators would arrange for surrogates to take tests in place of candidates,

and would obtain answers to test questions and share them with candidates.

                             Acts in Furtherance of the Conspiracy

4.     In furtherance of the conspiracy and to effect the objects thereof, SHAH and his co-

conspirators, performed or caused the performance of the following overt acts, among others not

described herein, in the District of Columbia and elsewhere: on or about September 20, 2011, CC-

1 sent an email to SHAH stating: “You have to take the Imtehan for [a candidate]”. The word

“Imtehan” translated into English is approximately “test.”

       All in violation of Title 18, United States Code, Section 371.




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                                     FORFEITURE ALLEGATION

5.     Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of an

offense in violation of conspiracy to commit an offense against the United States, that is, wire

fraud, in violation of 18 U.S.C. § 371, as alleged in this Information, the defendant shall forfeit to

the United States of America all property, real and personal, which constitutes and is derived from

proceeds traceable to the scheme to defraud. The property to be forfeited includes, but is not

limited to, a money judgment in the amount of the total loss caused by the defendant’s criminal

conduct, as determined by the Court at sentencing.

6.     If any of the property described above, as a result of any act or omission of the defendant:

           a. cannot be located upon the exercise of due diligence;

           b. has been transferred or sold to, or deposited with, a third party;

           c. has been placed beyond the jurisdiction of the court;

           d. has been substantially diminished in value; or has been commingled with other

               property which cannot be divided without difficulty;

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(c).

                                               Respectfully submitted,

                                               ROBERT A. ZINK
                                               Chief, Fraud Section
                                               Criminal Division
                                               United States Department of Justice


                                       By:
                                               ____________________________________
                                               Michael P. McCarthy, D.C. Bar #1020231
                                               Trial Attorney, Fraud Section

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                           Criminal Division
                           United States Department of Justice
                           1400 New York Avenue, N.W.
                           Bond Building, Fourth Floor
                           Washington, D.C. 20530
                           (202) 305-3995 (McCarthy)
                           Michael.McCarthy2@usdoj.gov




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